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                    Exhibit C
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March 7, 2025

Leah Atwood
Partnerships and Resources
Agroecology Commons
836 Marin Rd
El Sobrante, CA 94803-1322

Re:   Termination Notice for Agreement No. 2023-33800-40420 for the project titled,
Growing Cooperative Networks for Community Food Sovereignty, Nutrition, and
Agroecological Land Stewardship

Dear Recipient:

Pursuant to 2 CFR § 200.341 this letter serves as written notification that the subject
agreement between the National Institute of Food and Agriculture (NIFA) and Agroecology
Commons (Recipient) is terminated as of the date of this notice, in accordance with 2 CFR
§ 200.340(a)(4) and the terms and conditions of the award. NIFA has determined that
award 2023-33800-40420 no longer effectuates USDA priorities, which are to maximize
and promote American agriculture; ensure a safe, nutritious, and secure food supply;
enhance rural prosperity; and protect our National Forests.

You must submit all final reports and a final payment request no later than 120 calendar
days after the date of this notice. You will be reimbursed for costs incurred up to the
effective date of termination that are determined to be consistent with 2 C.F.R. § 200.343,
Effects of suspension or termination. Any open balance remaining 120 days after the date
of this notice will be unavailable for payment to the Recipient.

If you do not submit all reports in accordance with the terms and conditions of the Federal
award within one (1) year of the effective termination date, NIFA must proceed to close out
the award with the information available. In these circumstances, in accordance with 2
CFR § 200.344, NIFA must report the Recipient’s material failure to comply with the terms
and conditions of the award in SAM.gov using the Contractor Performance Assessment
Reporting System (CPARS). In this way, failure to submit timely and accurate final reports
may affect future funding to the Recipient.

Recipients are required by Federal regulation to retain all Federal award records consistent
with 2 CFR § 200.334. Termination of the agreement does not affect a Federal agency’s or a
pass-through entity’s right to disallow costs and recover funds based on a later audit or
other review. In addition, termination does not affect the recipient’s obligation to return


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any funds due as a result of later refunds, corrections, or other transactions, including final
indirect cost rate adjustments (refer to 2 CFR § 200.345).

If you have questions, contact the NIFA Program Contact, Kimberly Whittet at
kimberly.whittet@usda.gov.

Sincerely,


Matthew Faulkner
Deputy Director, Office of Grants and Financial Management

CC:
Kimberly Whittet, Senior Policy Advisor, Office of Grants and Financial Management
Edward Nwaba, Division Director, Awards Management Division
Lydia Kaume, National Program Leader, Institute of Food Safety and Nutrition




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